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                                                                                               CLOSED

                             United States District Court
                     Eastern District of Pennsylvania (Allentown)
                  CRIMINAL DOCKET FOR CASE #: 5:21-mj-01655-1
                                  Internal Use Only


Case title: USA v. HARTLEY                                      Date Filed: 11/01/2021

 Other court case number: 20-CR-269 MD OF PA                    Date Terminated: 11/01/2021


Assigned to: Unassigned

Defendant (1)
THOMAS HARTLEY                                  represented by KATHLEEN M. GAUGHAN
TERMINATED: 11/01/2021                                         FEDERAL DEFENDERS OFFICE
                                                               601 WALNUT STREET
                                                               SUITE 540
                                                               PHILADELPHIA, PA 19106
                                                               215-928-1100
                                                               Email: kathleen_gaughan@fd.org
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED
                                                               Designation: Public Defender or
                                                               Community Defender Appointment

Pending Counts                                                  Disposition
None

Highest Offense Level (Opening)
None

Terminated Counts                                               Disposition
None

Highest Offense Level (Terminated)
None

Complaints                                                      Disposition
IN VIOLATION OF 18 USC 641, 287
AND 1001




https://paed-ecf.sso.dcn/cgi-bin/DktRpt.pl?123493388960176-L_1_0-1                             11/3/2021
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Plaintiff
USA                                             represented by CHARLES JOHN VOLKERT , JR.
                                                               USAO-PAE
                                                               504 W HAMILTON ST SUITE 3701
                                                               ALLENTOWN, PA 18101
                                                               215-861-8405
                                                               Email: charles.volkert@usdoj.gov
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED
                                                               Designation: Assistant US Attorney


 Date Filed          #      Docket Text
 11/01/2021                 Arrest (Rule 40) of THOMAS HARTLEY (er, ) (Entered: 11/02/2021)
 11/01/2021              1 Minute Entry for proceedings held before MAGISTRATE JUDGE
                           HENRY S. PERKIN : IA/AC/IDENT/DET as to THOMAS HARTLEY
                           held on 11/1/21. Deft. stipulated to pretrial detention and identity. Court
                           Reporter esr.(er, ) Modified on 11/2/2021 (er, ). (Entered: 11/02/2021)
 11/01/2021              2 WAIVER of Rule 5 Hearing by THOMAS HARTLEY (er, ) (Entered:
                           11/02/2021)
 11/01/2021              3 COMMITMENT TO ANOTHER DISTRICT AS TO THOMAS
                           HARTLEY. DEFENDANT COMMITTED TO MIDDLE DISTRICT OF
                           PENNSYLVANIA. Signed by MAGISTRATE JUDGE HENRY S.
                           PERKIN on 11/1/21.11/2/21 Entered and Copies E-Mailed. (er, ) (Entered:
                           11/02/2021)
 11/02/2021                 (Court only) ***Case Terminated as to THOMAS HARTLEY (er, )
                            (Entered: 11/02/2021)
 11/03/2021                 *** TRANSFER AS TO THOMAS HARTLEY TO THE MIDDLE
                            DISTRICT OF PENNSYLVANIA *** (ke, ) (Entered: 11/03/2021)




https://paed-ecf.sso.dcn/cgi-bin/DktRpt.pl?123493388960176-L_1_0-1                              11/3/2021
